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                                 #:31757



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 6
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 7 Sarah Halpern, and Peter Marlow
 8
 9                       UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11                                EASTERN DIVISION
12
13   CARTER BRYANT, an individual,    Case No.: CV 04 – 09049 SGL (RNBx)
                                      Consolidated with Case Nos.
14                                    CV 04-9059 and CV 05-2727
                    Plaintiff,        Hon. Stephen G. Larson
15        v.
                                      [PROPOSED] ORDER RE APPLICATION
16                                    TO FILE UNDER SEAL EXHIBITS 6 and 7
     MATTEL, INC., a Delaware
17   corporation;                     TO THE DECLARATION OF LARRY W.
                                      MCFARLAND IN SUPPORT OF RESPONSE
18                                    TO ORDER TO SHOW CAUSE OF LARRY
                     Defendant.
19                                    MCFARLAND, LUCY ARANT, SARAH
                                      HALPERN AND PETER MARLOW
20
21                                    Date:    02/25/08
                                      Time:    10:00 A.M.
22   AND RELATED ACTIONS.             Place:    Courtroom One
23
24
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26
27
28
                                                         [PROPOSED] ORDER TO FILE UNDER SEAL
Case 2:04-cv-09049-DOC-RNB Document 2052-2 Filed 02/12/08 Page 2 of 2 Page ID
                                 #:31758



 1                                 [PROPOSED] ORDER
 2
 3        Based on the concurrently filed Application to File Under Seal Exhibits 6 and 7
 4 to the Declaration of Larry W. McFarland in support of Response to Order to Show
 5 Cause of Larry McFarland, Lucy Arant, Sarah Halpern and Peter Marlow, and good
 6 cause appearing for the entry thereof, IT IS HEREBY ORDERED:
 7        Exhibits 6 and 7 to the Declaration of Larry W. McFarland in support of
 8 Response to Order to Show Cause of Larry McFarland, Lucy Arant, Sarah Halpern
 9 and Peter Marlow, are ORDERED filed under seal pursuant to Local Rule 79-5.1.
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11
12 Dated: February ____, 2008
                                           Hon. Stephen G. Larson
13
                                           United Stated District Judge
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                                              -2-              [PROPOSED] ORDER TO FILE UNDER SEAL
